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               EXHIBIT 245
             [Filed Under Seal]
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                                                                           •
                                                          BANKof the OZARKS~
                                                            Real Estate Specialties Group
                                                   LOAN STATUS SUMMARY
                                                                                                      2/ 1/2016
      Loan#:                           4508522102

      Borrower:                        JTL Rockhill, LLC
      Risk Rating:                     5SRA - See SRA Analysis attac hed

      Guarantors:                      Cypress Equities I, LP - Carve Out Guaranty, Re-financing Gap to a DSCR of I .20x, and
                                       Operating Deficit
                                       Chris Maguire - Carve-Out (limited to BK)

      Use of Funds:                    To finance the i) acquisition ofan approximate 496,000 s/fretail center located on a 82 acre
                                       tract ofland located near Interstate 77 and Dave Lyle Blvd in Rock Hill, South Carolina, ii)
                                       completion of exterior renovations, and iii) fund tenant improvement and leasing commission
                                       costs.

      Land Area (at closing):          82 acres

      Building Area/Units:             478,528 SF

      Location of Collateral:          Rock Hill, South Carolina

      Original Loan Closing Date:      09/17/2007

      Last Extension Date:             I 0/15 /20 14
      Maturity Date:                   I 0/15/20 16

      Interest Rate (current):         3.93645%

          Base / Spread / Floor        LIBOR + 350 bp / 3.75% Floor

      Amortization Period (Initial /
                                       360 periods, 269
      Remaining):
      Amortization Commenced (or
                                       9/10/2008
      Commences):


      Historical Principal Payments:      $3 ,01 5,520.08 - since the 2011 Loan Extension
                                       i JTL Rocle
                                                Hill. LLC
                                       4 5[ +09
                                       PAM:IPAI.. PAYMENTS


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                                       . 01/08/15                  W 25·
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                                          031ll/15          t78,138 63
                                          04/02115            t68. 18121
                                       .. 05,06/15            Hl615 34
                                          O&QV15            t68.485 2Y
                                          07/02115            H2.06l19
                                          08/04115          $68,968 8'5


                                         11/03/15      __   •~,J?.7]~
                                         i2ii:J3115"        $72, n; 80
                                       . ·o\ioji1ii      - fh,s'I 28
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                                       . . 03/03116 .•      $71,835.01
                                       _-04/03116           rn.135 69
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                                          C:....




                                                                                                                    Exhibit
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      Future Principal Payments:     Principal payments through maturity based on a declining 30 year amortization.

      LTV - "As Stabilized", fully   121 % - Fully Funded, 11 I% - Excluding Uncommitted Tl-LC
      funded:
      Appraised Value:               $29.5MM

      Appraisal dated:               December 2014


                                         02/29/1       Occu~ied         Available      Total    Occu~ancl
                                            Anchor      365,631                 0    365,631       100.0%
                                             In-line     97,856           32,707     130,563       74.94%
                                              Total     469,870           26,274     496,194       93.41%
                                           Per Rent
                                               Roll                                  496, 194



      Current In-place:              0.94x amortizing (J .59x IO) as of 4/26/20 16


      Remaining Collateral:          No collateral has been released.



      KEY HISTORICAL                 JCP
      ACHIEVEMENTS:                  •     Expanded area and paying increased rent (3 months earlier than projected)


                                     Super Play ("Revolutions")
                                     •     Borrower has secured higher hase rents as a result of Tenant delays.
                                     •     Rent payment commenced on September I st 2013.
                                     •     Revolutions opened for business on December 2014 .
                                     Belk
                                     •     Signed an amendment to increase premises by 20.000 s/f at their cost.
                                     •     Expansion is substant ially complete and Belk is open for business.
                                     •     No rent increase as anchor expanding at their cost (estimated costs at $5,500,000
                                           - S6.000,000).
                                     HomeSouth
                                     •     Signed the lease on August 2014 for the 30,000 s/f suite. HomeSouth opened for
                                           business on October 20 I 4.
                                     Sears
                                     •     Exercised lease renewal option in 2015 to extend through 2021




                                                                                                            [AutoFileName]



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      CRITICAL FUTURE WATCH
      ITEMS:                            •    Monitor monthly rent roll for changes in rent terms, and possible tenant roll over.
                                        •    Monitor Tenant store sales. including HomeSouth due to percentage rent only
                                             lease.
                                        •    Monitor lease renewal of in-line tenants.
                                        •    Monitor operating expenses closely.

                                             AM - Items to note
                                        •    All rents are deposited in the lockbox, and Loan Servicing transfers $70K to the
                                             Borrower's operating account on the lot\ and 24 th of every month. Debt Service
                                             and Escrows will be paid out of the lockbox by Servicer (with AM's approval).
                                        •    Wires will be requested twice a month for payroll and management fees. Servicer
                                             to prepare, and AM to approve.
                                        •    AM to adjust the Special Reserve Allocation on a monthly basis. Send adjusted
                                             amount to Tina Chandler.
                                        •    Continue to update ARGUS on a quarterly basis.
                                        •    Cash flow will be "proved-up" and deposited into the Operating Deficit Reserve.

        GUARANTOR FINACIALS
        C.ypress E,QUI·ues I LP*
          Date of           '
                        Cash/Cash                        Total                                          Tax Return       Credit Score /
         Statement      Equivalents                    Liabilities                                         Year              Date
                                       Total Assets                   Net Worth           AGI



         12/31/2015         $0          $5,123,000    $15,685,000    ($10,562,000)    Not Available   2015 Not Filed          NIA
         09/30/2015         so          S5,l37,000    S 15,685,000   ($10,554,000)    (S 1,448,935)        2014               NIA
         \2/3li20l4       Sl,000        $5,229,000    Sl5,778,000    ($10,549,000)    (Sl,448.935)         2014               NIA
         0913012014         so          $5,172,000    $15,709,000    ($I 0.537,000)    ($899,421)          2013               NIA
         06/3012014         $0          $5.134,000    $15,951,000    ($10,817,000)          ""           2013 - Ext           NIA
         03131/2014       S2,000        $5,112,000    S\5,773,000)   (S 10,661.000)
                                                                                           ......        2013 - Ext           NIA
         I 213112013        $0          $5,021.000    $15,986,000    ($10,965,000)    ($1.258.653)         2012              NIA
         09130/2013         $0          $8,867,000    S 15.856.000    ($6,989.000)         .....            ....             NIA
         06/30/2013       Sl2,000       $8,779,000    $15,799,000     ($7,020.000)         .....        2012 - Ext            NIA

         03131/2013         $0          $8,693,000    $15,396,000     ($6,703,000)         ....         2012-Ext              NIA
         12/31/2012         so          $8,571,000    S15,587,000     ($7,016,000)     ($453,135)         2011                NIA

        *Cypress is in compliance with respect to distributions to related parties.




                                                                                                                     [AutoFileName]



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         LOAN MODIFICATION/KEY EVENT HISTORY
         (Provide a bullet-point summarv of each modification clearly and succinctly delineatinfi! the kev issues)
            Date                                                         Description
      02/08/2007           Approve Cypress Equities as Guarantor, and provide a Refinancing Gap
      09/10/2007           Approve maximum Loan Funding of $32,250,000, and Bank's handling oflanguage and structure
                           of the springing 2Uaranty.
      11/26/2007           Approval email from Mr. Gleason to approve Cypress Equities as Guarantor
      08/02/2008           Approve i) increase in Interest Rate, ii) $1,000,000 principal reduction, ii) Operating deficit
                           guaranty from Cypress Equities, iii) reduction in the Un-advanced Loan Amount by $3,610,000,
                           iv) modified Sources and Uses, v) an extension of the Loan for one (1) additional twelve month
                           period, vi) terms under which Borrower may utilized the Operating Deficit Amount, and vii)
                           modification to the calculation method of the Modified Refinance Amount.
      07/23/2009           Approve a downgrade to the Risk Classification from 3A to 4A
      09/15/2009           Approve an extension of the Term of the Loan for one (l) additional period of ninety (90) days
      12/04/2009           Approve i) an extension of the.Term of the Loan for one <1) additional period of sixty-(60)days·;-"fi)
                           an extension of the Term of the Loan for one (I) additional period ofone ( 1) year, and iii)
                           additional measures/ covenants with respect to Cypress EQuities
      02/16/2011           Approve i) an extension of the Term of the Loan for one (1) additional period of sixty (60) days,
                           and ii) modify the Floor Rate to 4.0%
      05/16/2011           Approve an extension of the Term of the Loan for one ( 1) additional period of thirty (30) days
      06/22/2011           Approve i) an increase to the Loan Commitment to $38,184,456, and ii) modify the Sources and
                           Uses ("2011 Loan Extension")
      08/10/2011           Approve closing of the 2011 Loan Extension based on an appraisal indicating an "as stabilized"
                           value of $35.0MM
      03/27/2013           Approve a change in the Interest Rate to 3. 75% fixed (effective as of March 1O. 2013) for the
                           remainder of the term of the lending facility.

      07/16/2016          Approve an extension of the Term of the Loan to November 2, 2014
      2014.08.27          Approve a risk rating change from a SA to a 5SRA, and apply a $3,530,000 Special Reserve
                          Allocation.
      2014.12.10          Approved a two (2) year extension of the Loan Term, and apply an additional $290,000 Special
                          Reserve Allocation.




                                                                                                            [AutoFileName]



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        Reserves/DOA

        2121000497 JTl ROCK HLL LLC                              CMAACCOUNT                                $6,811.63
         2121000!!13 JTl ROCK Hl.L LLC                           DRAW ACCOUNT                                  S0.00
        2210000754 JTl ROCK HILL LLC                             OPERATtlG DEFICIT RESERVE               S1TT,080.59
        2210010068 JTl ROCK HU LLC                               OPERATtlG ACCOUNT                       5264.217.32
        221l012742 JTl ROCK HU LLC                               REPLACEMENT RESERVES                          S0.00
        22100127159 JTl ROCK HILL LLC                            Tl /LC RESERVES                               S0.00
        221l012767 JTl ROCK HILL LLC                             TAX AND INSURANCE RESERVES              S113,615.17




                                         LOAN STATUS SUMMARY-BUDGET
         4/26/2016
                                                  Advanced      Un-Advanced             Total
         Sources
           Equity                                        $200                $0              $200
           Debt                                   $32,606,517        $3,338,603       $35,945,120

         Total                                    532,606,717        53,338,603       535,945,320

         Uses

            Land/ Acquisition                     $32,024,207                $0       $32,024,207
            Hard Costs                              $445,352           $482,500         $927,852
            Soft Costs                              $137,158            $50,498          $187,656
            Interest/Loss Allocation                       $0                $0                $0
            Tax/Insurance Allocation                       $0                $0                $0
            Other Reserves                                 $0        $2,805,605        $2,805,605

         Total                                    532,606,717        53,338,603       $35,945,320




                                                                                                    [AutoFileName]



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